             Case 18-21134-jra       Doc 26      Filed 08/20/18     Page 1 of 2



                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

IIN RE: Martin Gabriel Sendejas                  CASE NO.: 18-21134
  Brenda Veronyka Sendejas                       CHAPTER 7
  fka Brenda Origel
  fka Brenda Martinez

               Debtor

                                          ORDER

       This matter comes before the Court upon the Application for Abandonment and

Motion for Relief from Stay filed herein by Creditor, PennyMac Loan Services, LLC, by

counsel, David M. Bengs, in the above-captioned estate, to abandon certain property of

the estate and it appear that such property has no value to the estate whatsoever, it is:

       ORDERED that Creditor, PennyMac Loan Services, LLC, be granted relief from

the stay and the real estate commonly known as: 4326 Baltimore Ave, Hammond, IN

46327 and more particularly described:

       Lots 38 and 39 and the North Half of Lot 37 in Block 6 in Rolling Mill Addition,
       to the City of Hammond, a per plat thereof, Recorded in Plat Book 1 Page 105, in
       the Office of the Recorder of Lake County, Indiana.

Is hereby abandoned as property of the estate.

       IT IS FURTHER ORDERED that Creditor, PennyMac Loan Services, LLC, be

granted relief from the stay.

       IT IS FURTHER ORDERED that Creditor is exempt from further compliance

with Fed. Bankr. Rule P. 3002.1.




18-06544-2
             Case 18-21134-jra     Doc 26    Filed 08/20/18     Page 2 of 2



       IT IS FURTHER ORDERED that the entry of this Order shall be deemed to

constitute the abandonment of said property by the trustee and the bankruptcy estate. The

Rule 4001(a)(3) 14 day stay is waived.


                                                ________________________________
                                                Judge, United States Bankruptcy Court



MARINOSCI LAW GROUP, P.C.
David M. Bengs
455 West Lincolnway, Suite B
Valparaiso, IN 46385
Telephone: (219) 386-4700
Fax: (219) 386-4701
E-mail: dbengs@mlg-defaultlaw.com

U.S. Trustee
100 East Wayne Street
5th Floor
South Bend, IN 46601-2349

Kenneth A. Manning, Trustee
200 Monticello Drive
Dyer, IN 46311

Jonathan Kurt Clasing, Esq.
55 E. Monroe St., Suite 3400
Chicago, IL 60603

Brenda Veronyka Sendejas fka Brenda Origel fka Brenda Martinez, Debtor
4326 Baltimore Ave
Hammond, IN 46327

Martin Gabriel Sendejas, Debtor
4326 Baltimore Ave
Hammond, IN 46327
Chicago, IL 60603




18-06544-2
